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                                                          Exhibit A to the Complaint
Location: Philadelphia, PA                                                                          IP Address: 151.197.183.152
Total Works Infringed: 27                                                                           ISP: Verizon Fios
 Work       Hashes                                                               UTC        Site           Published    Registered   Registration
 1          Info Hash:                                                           07-19-     Tushy          07-18-2021   08-02-2021   PA0002305087
            A9D72898F59A38BD6BE680AB25DFBDDC450837AF                             2021
            File Hash:                                                           01:50:34
            E9822B37E4B39490EEC209FF6DDAFBA77E8776075369F25C361AB8194857EA3E
 2          Info Hash:                                                           07-18-     Blacked        07-17-2021   08-02-2021   PA0002305089
            9E17D791B79624A352B52C6FE052FCC50C25046C                             2021
            File Hash:                                                           02:32:51
            681DD5C4B0494BFC1CF4B0AE132F0B1361284BBF488A8D49A7029401CD55105E
 3          Info Hash:                                                           07-06-     Blacked        07-05-2021   08-02-2021   PA0002305092
            56AA379C5CB38388B9AA1F1B047C28809BD6E124                             2021       Raw
            File Hash:                                                           05:14:40
            5F30DC3B16A66A31D4B031B781C69C4D5D9F1AFD0674164DD4ED5F10B7428EFB
 4          Info Hash:                                                           07-04-     Blacked        07-03-2021   08-02-2021   PA0002305091
            4FF0E1307AB38C36DE38D902950BF0B221CF6336                             2021
            File Hash:                                                           17:08:17
            EDE77106A4B6BE2E2929DC4486C1AC21FE6E0E33C0184C03A66639966165B44D
 5          Info Hash:                                                           06-07-     Tushy          06-06-2021   06-15-2021   PA0002296921
            BDD8DFE941553C738B3BB2B933B08A37F415084E                             2021
            File Hash:                                                           03:43:35
            EA779EC9A0B89E90A68B48717EE67C11B782E39F2A183E8A503BE2AF9F448AD5
 6          Info Hash:                                                           06-03-     Tushy          05-16-2021   06-09-2021   PA0002295592
            2E488D2530B78399628D50E819179A23693E120A                             2021
            File Hash:                                                           02:31:59
            7B75D65C107E15B751BDD24B4FC32F760B3E817F58BFB088434E7A96317F91ED
 7          Info Hash:                                                           06-02-     Blacked        05-31-2021   06-15-2021   PA0002296925
            9E8676EE5FE16D873CDD5CD56007A94599A196AE                             2021       Raw
            File Hash:                                                           02:25:56
            092A8CEA6BD5F8F989A63E62F30AF1F354800EC13226546A69B6E0BEDFC2CA08
 8          Info Hash:                                                           05-15-     Vixen          05-14-2021   06-03-2021   PA0002299686
            431A23B6E16E13B9FF0A54F59EFED0980E92ECCD                             2021
            File Hash:                                                           05:15:03
            6E8A773C4314F91654571CCB1193F4346ED8F3016CEECB942AF7A61B850CCB30
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         04-26-     Blacked   04-26-2021   06-09-2021   PA0002295596
       13835534F0E25A22BB5EFAE20476304004ED076A                           2021       Raw
       File Hash:                                                         20:16:21
       07E7FB0504FBC0F7C2118D41CED7932CF011BE56D58763473B398AEC78EFC1E3
10     Info Hash:                                                         04-25-     Vixen     04-23-2021   04-27-2021   PA0002288949
       4E09CCA0246A2BF6989481994B04C0BC7C6B8180                           2021
       File Hash:                                                         04:47:20
       B3E7D4C69B1947521E58A91246227A44788A1F197CE0E0769394DEEE8A56BB4D
11     Info Hash:                                                         04-21-     Tushy     04-04-2021   04-14-2021   PA0002286714
       99781D1FFCBEDAFE057B94294F3901C4D43B1180                           2021
       File Hash:                                                         07:36:37
       0D8379A1577DB14B3D45A8422754230098812E9FD70F71244EB1271B16F7CBB5
12     Info Hash:                                                         04-20-     Tushy     04-18-2021   06-03-2021   PA0002299684
       7E2A9DD13F5F81891BFBEE9953863C80CB9FEDC1                           2021
       File Hash:                                                         03:34:13
       9C7CEC2292FBF89F5B4A7EE246A505C52FBDF8A1256F49ADD893EFB7B9BAA4DC
13     Info Hash:                                                         04-20-     Blacked   04-19-2021   04-27-2021   PA0002288984
       53DFAD25E14FFB1D5151685A90C174CE24B1BF05                           2021       Raw
       File Hash:                                                         03:33:05
       641BF17828C09C914D56D1B9D789B3DB2CB5798E9CB02B5AD805F0BDC001CCD7
14     Info Hash:                                                         04-12-     Blacked   04-12-2021   04-27-2021   PA0002288983
       36236DF80E3789C32873A3E74D3DCB69631784C2                           2021       Raw
       File Hash:                                                         19:50:27
       708063990182E56298A47B688B4698CA2EE25DB127EAC494D09B1B5008E0E7AC
15     Info Hash:                                                         04-12-     Tushy     04-11-2021   04-27-2021   PA0002288948
       4D1E937059E78109E9C929FD10A92D05CBDD6A5B                           2021
       File Hash:                                                         04:02:28
       6514396893ACE2CFC3D8ACAE8238657C4D235A9126C2AC62859D6FD95ECC0F59
16     Info Hash:                                                         04-03-     Blacked   03-15-2021   03-22-2021   PA0002282515
       862D6740A51A9D510E6E46DCE50494D8ED4302EF                           2021       Raw
       File Hash:                                                         18:08:27
       455DE44BB1CC40BF224675EA49FAB33F5D1193B6C351A4312C7ED0B4494A1A5B
17     Info Hash:                                                         03-30-     Blacked   03-29-2021   04-14-2021   PA0002286726
       43D710EFA4AC1CF5FF6221155D49E5214585A621                           2021       Raw
       File Hash:                                                         13:31:45
       C5499E689F542478B974CB14D08BB8FDD071D73969AAC9140F692F2D58F43AA9
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         03-08-     Tushy     03-07-2021   03-22-2021   PA0002282503
       5D2BFD8E84BEC03B46E445C517DCD6CB7091A545                           2021
       File Hash:                                                         06:08:04
       E72A5AD2FA19999DE3594E4E11E69AAE595C3F128A09DA5E97317E75BBA0CA28
19     Info Hash:                                                         03-01-     Tushy     02-28-2021   03-22-2021   PA0002282501
       5EA1CEDFD4BE9576CDFC7164EC71A2854CBFE95B                           2021
       File Hash:                                                         05:58:30
       19B7648336A0AB740B87093BD080CCAEC8B990B2083C3E21389D741846334EA5
20     Info Hash:                                                         02-21-     Tushy     02-07-2021   03-08-2021   PA0002280362
       97411C3987A905CD4C458D6A88BC8EB53796B51B                           2021
       File Hash:                                                         18:13:08
       169C2D70CE4F3BF1320FE3AB4A5BF7A90BF0429D9734BBF6A872DA7BF3CAA5C0
21     Info Hash:                                                         02-15-     Blacked   02-15-2021   03-08-2021   PA0002280367
       8ACEAF6E063E20FA8AD60011A276B2DBD6C48825                           2021       Raw
       File Hash:                                                         23:22:33
       2E1AFE54A00CA51231905F46DB377AB5DC9912A59804A27F71D87D48877B6901
22     Info Hash:                                                         02-15-     Tushy     02-14-2021   03-08-2021   PA0002280366
       F230FBE89BB8CC8161107EC854BD090E7BAD54B0                           2021
       File Hash:                                                         07:12:09
       A04CA873FEF5CED47466FFE59ABE3FCAFC78EDDF4358E13C4E38CBCDF6E23DE9
23     Info Hash:                                                         01-30-     Vixen     01-29-2021   02-26-2021   PA0002283702
       F9429ECA40C5CA6741921EE3490A63C1DCB92CED                           2021
       File Hash:                                                         06:32:02
       F6495E1085B69EAF1AB4D54066963D3B64639435D63BDAD59D02AD76F1AACBFF
24     Info Hash:                                                         01-17-     Tushy     01-17-2021   02-09-2021   PA0002276149
       E713D89DBB841FCA06E2ED2D573238E1605C5258                           2021
       File Hash:                                                         23:41:54
       05FE1DF9D606E6B61D5A4AF8A0BB8D7D39D61BAFDCFCE9D66898F73197D0834B
25     Info Hash:                                                         10-19-     Tushy     10-18-2020   11-05-2020   PA0002263388
       1A26A196358C2C12445BC8122570365DEE727A70                           2020
       File Hash:                                                         02:49:04
       A5E4E4AA26374FE74D4F62B1BBBF99AD26104A1B6A6CEEE59E75309D3022702E
26     Info Hash:                                                         10-18-     Blacked   10-17-2020   11-05-2020   PA0002263387
       F963FC66BEC64BF8323AA10A31D829DE757A4211                           2020
       File Hash:                                                         01:00:27
       B85D0B747CC11085A6E5DD8FAE0DE603975DA7B66892618C8A81B596BB19D3AE
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
27     Info Hash:                                                         07-06-     Tushy   07-05-2020   07-20-2020   PA0002248967
       829EB85C3BB6F11D9B51EC365B40F9D6F12530A5                           2020
       File Hash:                                                         04:06:05
       5813DE9CDFDD4AE0B45CAD7706F40394759E40F3F86F826D3A2F694B37AC368E
